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                                UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


      LANCE JOHNSON, individually and                 Case No. 2:20-cv-07020-RGK-RAO
      on behalf of all others similarly situated,
                                                      [PROPOSED] ORDER DISMISSING
                                                      xxxxxxxxxxxx
                   Plaintiff,                         INDIVIDUAL CLAIMS AGAINST
                                                      VIRGINIA SURETY WITH
            vs.                                       PREJUDICE AND PUTATIVE
                                                      CLASS CLAIMS WITHOUT
      AFFINITY INSURANCE SERVICES                     PREJUDICE [43]
      INC., WHICH WILL DO BUSINESS
      IN CALIFORNIA AS AON AFFINITY                   Honorable R. Gary Klausner
      INSURANCE SERVICES, INC.;
      VIRGINIA SURETY COMPANY,
      INC., and DOES 1-10 Inclusive,
                   Defendants.




                                                    -1-            Case No. 2:20-cv-07020-RGK-RAO
                                          XXXXXX ORDER
                                          [PROPOSED]
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